902 F.2d 1564
    Unpublished DispositionNOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph Lee FORD, Plaintiff-Appellant,v.Woodall ADKINS;  Joyce Allen;  Norman Farnham, Defendants-Appellees.
    No. 89-6653.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 31, 1990.Decided May 1, 1990.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Rockingham.  Eugene A. Gordon, Senior District Judge.  (C/A No. 88-854-C-R)
      Joseph Lee Ford, appellant pro se.
      David R. Minges, North Carolina Department of Justice, Raleigh, N.C., for appellees.
      M.D.N.C.
      AFFIRMED.
      Before MURNAGHAN, CHAPMAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Joseph Lee Ford appeals the district court's order dismissing this 42 U.S.C. Sec. 1983 action.  Appellant's action was referred to a magistrate pursuant to 28 U.S.C. Sec. 636(b)(1)(B).  The magistrate recommended that relief be denied and advised appellant that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, appellant failed to object timely to the magistrate's recommendation.*
    
    
      2
      This Court has held that the timely filing of objections to a magistrate's recommendation is necessary to preserve appellate review of the substance of that recommendation where the parties have been warned that failure to object will waive appellate review.   Wright v. Collins, 766 F.2d 841 (4th Cir.1985);  United States v. Schronce, 727 F.2d 91 (4th Cir.), cert. denied, 467 U.S. 1208 (1984).   See Thomas v. Arn, 474 U.S. 140 (1985).  Appellant has waived appellate review by failing to file objections after receiving proper notice.  We accordingly affirm the judgment of the district court.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      3
      AFFIRMED.
    
    
      
        *
         We have reviewed Ford's untimely filed objections and find that the magistrate's recommendation was correct
      
    
    